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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                            Case Number: 13-cr-20622
v.                                                          Honorable Thomas L. Ludington

RODOLFO RODRIGUEZ,

                  Defendant.
_______________________________________/


       ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
       DEFENDANT’S PLEA OF GUILTY, AND TAKING THE RULE 11 PLEA
                   AGREEMENT UNDER ADVISEMENT

       On February 27, 2014, United States Magistrate Judge Charles E. Binder conducted a

plea hearing pursuant to Defendant’s consent. The Magistrate Judge issued his report on March

3, 2014, recommending that this Court accept Defendant’s plea of guilty.

       Although the Magistrate Judge’s report explicitly stated that the parties to this action may

object to and seek review of the recommendation within fourteen days of service of the report,

neither Plaintiff nor Defendant filed any objections. The election not to file objections to the

Magistrate Judge’s report releases the Court from its duty to independently review the record.

Thomas v. Arn, 474 U.S. 140, 149 (1985). The failure to file objections to the report and

recommendation waives any further right to appeal.

       Accordingly, it is ORDERED that the magistrate judge’s report and recommendation,

ECF No. 59, is ADOPTED.
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      It is further ORDERED that Defendant’s plea of guilty is ACCEPTED, and the Rule 11

Plea Agreement, ECF No. 57, is taken UNDER ADVISEMENT.



Dated: March 21, 2014                                                         s/Thomas L. Ludington
                                                                              THOMAS L. LUDINGTON
                                                                              United States District Judge

                                                PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney or party of record herein by electronic means or first
                        class U.S. mail on March 21, 2014.

                                                          s/Tracy A. Jacobs
                                                          TRACY A. JACOBS
